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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

JEANNE PAGANO and DANA NORRIS,
individually and on behalf of all others
similarily situated,

 

Plaintiffs,
Vv. Case No. 3:18-cv-117-J-20JBT
QUICKEN LOANS, INC., a Michigan
corporation,
Defendant.
/
ORDER

This matter is before this Court on the parties’ “Stipulation for Final Order of Dismissal with
Prejudice” (Dkt. 56).

Accordingly, it is ORDERED:

1. The parties’ “Stipulation for Final Order of Dismissal with Prejudice” (Dkt. 56) is
GRANTED and this action is dismissed with prejudice with each party to bear her or its own
attorney’s fees and costs and waving all rights to appeal; and

2. The Clerk is directed to terminate all pending motions and close this case.

DONE AND ORDERED at Jacksonville, Florida, this Vie day of March, 2019.

 
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